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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY,
et al.,

     Plaintiffs,
                                                     Case No. 17-cv-2738 (ABJ)
v.

WILBUR ROSS, et al.,

     Defendants.

       PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENTAL NOTICE
                RE: MARINE MAMMAL COMMISSION LETTER

       Plaintiffs respectfully submit this response to Defendants’ “Notice” filed June 1, 2018,

alerting the Court to a recent letter from Defendant National Marine Fisheries Service (“NMFS”)

to the Marine Mammal Commission (“MMC”). Defs.’ MMC Notice (Dkt. No. 28). Defendants

argue this letter satisfies NMFS’s duties pursuant to Marine Mammal Protection Act (“MMPA”)

Section 1402 and resolves Plaintiffs’ claim that NMFS unreasonably delayed its response to the

MMC’s recommendations. Id. As described below, the letter does not satisfy NMFS’s statutory

obligations and Plaintiffs’ MMC claim remains live.

       Specifically, the MMPA requires the MMC to make recommendations to federal agencies

regarding actions to conserve marine mammals. 16 U.S.C. § 1402(a)(4). The MMPA then

requires:

       Any recommendations made by the Commission . . . shall be responded to by
       [agency officials] within one hundred and twenty days after receipt thereof. Any
       recommendations which are not followed or adopted shall be referred to the
       Commission together with a detailed explanation of the reasons why those
       recommendations were not followed or adopted.

Id. § 1402(d). As explained in Plaintiffs’ brief, read as whole, the provision does not just require

a vague “response” from the agency within 120 days; it requires the agency to make a final


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decision about whether or not to “adopt” the MMC’s recommendation within 120 days and if

not, explain itself in “detail[ ].” 16 U.S.C. § 1402(d); Pls.’ Reply Br. at 13-14 (Dkt. No. 21).

        In a March 1, 2017 letter and then again in a September 21, 2017 letter, the MMC

formally “recommend[ed]” that NMFS invoke the MMPA Import Rule’s emergency rulemaking

provisions to ban the import of gillnet-caught fish from Mexico’s Upper Gulf. AR844; AR153.

Plaintiffs challenge NMFS’s unreasonable delay in failing to comply with Section 1402(d).

Compl. ¶¶ 41, 61-72 (Dkt. No. 1); 5 U.S.C. § 706(1).

        In their opposition brief, Defendants initially claimed that NMFS’s staff’s “ongoing

conversations” with the MMC satisfied Section 1402(d)’s mandate. Defs.’ Summ. J. Opp. at 23,

27 (Dkt. No. 17). Now, two weeks after the close of briefing, Defendants fully retract that

argument and instead argue NMFS’s new June 1, 2018 letter to the MMC satisfies NMFS’s

obligations.1 Defs.’ MMC Notice at 2 (“Defendants hereby withdraw [their] arguments” that an

oral response is sufficient).

        However, for the same reason NMFS’s “ongoing” conversations with the MMC failed to

satisfy the statute, NMFS’s new letter does not constitute the “response” required under MMPA

Section 1402(d). The letter merely acknowledges the MMC’s recommendations and states that
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  Defendants now argue, citing no legal support, that NMFS’s letter “moot[s]” Plaintiffs’ MMC
claim, referencing a purported argument in their briefing. Defs.’ MMC Notice at 1, 2. However,
neither Defendants’ summary judgment opposition nor its reply brief argue Plaintiffs’ claim is
“moot.” See Defs.’ Summ. J. Opp. at 27 (Dkt. No. 17) (arguing Plaintiffs’ “claim fails because
NMFS has discharged its duty”).

Further, a claim only becomes moot “when it is impossible for a court to grant any effectual
relief what-ever to the prevailing party.” Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 669
(2016). Even if, as Defendants suggest, Section 1402(d)’s singular directive could be severed
into two parts, and NMFS’s new letter could somehow be deemed a “response” that satisfies the
first sentence of Section 1402(d), Defs.’ Reply Br. at 13; Defs.’ MMC Notice at 1, NMFS
acknowledges that it is still required to provide an actual decision and “detailed explanation,” as
required by the second sentence of Section 1402(d), at some point. Defs.’ MMC Notice, Ex. 1, at
2. Because that decision and explanation are also unreasonably delayed, effectual relief can still
be granted to Plaintiffs.

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“NMFS is not prepared to make a final decision as to whether to act under the MMPA Import

Ban Rule, whether on an emergency basis or otherwise.” Defs.’ MMC Notice, Ex. 1 at 2. As

Plaintiffs argued, the MMPA requires more than mere acknowledgment of a recommendation

within the statutory timeframe; it requires NMFS to make a final decision about whether or not

to “adopt” the MMC’s recommendation to invoke emergency rulemaking within 120 days, and if

NMFS chooses not to do so, NMFS must explain in “detail[ ]” why not. 16 U.S.C. § 1402(d); see

Pls.’ Reply Br. at 17. NMFS has not “responded” to the MMC consistent with the MMPA’s

requirements. As such, its response remains unreasonably delayed.



Dated: June 7, 2018                        Respectfully submitted,


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